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                          IN THE UNITED ST ATES DISTRICT COURT

                                   FOR THE DISTRICT OF IDAHO


BRADLEY BLITON and
SHANNON BLITON,
                                                Case No. 1:18-CV-243
                Plaintiffs,
vs.                                             NOTICE OF REMOVAL

FCA US,LLC,

                 Defendant.

       PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. §§ 1332, 1441 and 1446,

Defendant FCA US LLC hereby removes this action from the District Court of the First Judicial

District of Kootenai County, Idaho, to the United States District Court for the District of Iclaho.

                              I.    PROCEDURALBACKGROUND

        1.      On May 17, 2017, Plaintiffs Bradley and Shannon Bliton (the "Blitons" or

"Plaintiffs") filed a Complaint (the "Complaint") in the District Court of the First Judicial

District of Kootenai County, Idaho in the case captioned Bradley and Shannon Bliton v. Fiat

Chrysler Automobiles North America, LLC and Fiat Chrysler Automobiles, N. V., Case No.

CV17-3880. In accordance with 28 U.S.C. § 1446(a) and Dist. Idaho Loe. Civ. R. 81.1, a copy of

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the Complaint and all process, pleadings, and orders are attached hereto as Exhibit A. In

addition, a copy of the Register of Actions is attached hereto as Exhibit B.

          2.       In the Complaint, the Plaintiffs named Fiat Chrysler Automobiles North America,

LLC and Fiat Chrysler Automobiles, N.V. as the defendants in the case. See Complaint attached

as Exhibit A-1. FCA US LLC ("FCA US") 1 was not named as a defendant in the Complaint and

FCA US was never served with the Complaint.

          3.       FCA US first had knowledge of the lawsuit filed by the Blitons on October 26,

2017, but neither Fiat Chrysler Automobiles North America, LLC nor Fiat Chrysler

Automobiles, N.V. were ever properly served with process pursuant to Idaho Rule of Civil

Procedure 4.

          4.       On October 27, 2017, counsel for FCA US notified Plaintiffs' counsel that the

proper party defendant in the lawsuit was FCA US.

          5.       On November 15, 2017, Fiat Chrysler Automobiles N.V. specially appeared in the

case in order to contest personal jurisdiction and on November 30, 2017, Fiat Chrysler

Automobiles, N.V. filed a motion to dismiss the litigation based on insufficient service of

process and lack of personal jurisdiction. See Notice of Special Appearance attached as Exhibit

A-4 and Motion to Dismiss attached as Exhibit A-9.

          6.       On February 1, 2018, Plaintiffs filed a motion to amend their Complaint in order

to name FCA US. See Motion to Amend attached as Exhibit A-14.

          7.       A hearing on the motion to dismiss and motion to amend took place on February

28, 2018, and on March 6, 2018, the Court granted Fiat Chrysler Automobiles, N.V.'s motion to

dismiss and also granted Plaintiffs' motion to amend.

1
    The sole member of FCA US LLC is FCA North America Holdings, LLC. The sole member of FCA North
America Holdings, LLC is Fiat Chrysler Automobiles N.V., a corporation organized and existing under the laws of
the Netherlands.

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        8.       On April 13, 2018, Plaintiffs served FCA US with their First Amended Complaint

for Damages ("First Amended Complaint"), which named only FCA US as a defendant. See First

Amended Complaint attached as Exhibit A-20. Pursuant to the First Amended Complaint,

Plaintiffs stated personal injury, negligence and breach of warranty claims against FCA US

arising out of a May 18, 2015 automobile accident that occurred in Kootenai County, Idaho. Id.

The First Amended Complaint requested only $10,000 in total damages. See First Amended

Complaint (Exhibit A-20) at p. 3. 2

        9.       On May 9, 2018, Plaintiffs filed their Second Amended Complaint, which seeks

damages against FCA US in an amount in excess of $10,000 (emphasis added). See Second

Amended Complaint attached as Exhibit A-24.

        10.      The Second Amended Complaint asserts personal injury, negligence and breach

of warranty claims against FCA US arising out of the automobile accident that occurred in

Kootenai County in May 2015. Id. No further pleading amendments have been filed as of the

date of this Notice of Removal. See Register of Actions (Exhibit B).

        11.      FCA US filed an Answer to the Second Amended Complaint on May 23, 2018.

See Answer attached as Exhibit A-25.

                                      II. BASIS OF REMOVAL

        12.      This case is being removed under 28 U.S.C. §§ 144l(b) and 1446. The Court has

subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332 because the alleged

amount in controversy exceeds the sum of $75,000 and complete diversity of citizenship exists

between the parties.



2
  Although the First Amended Complaint requested only $10,000 in total damages, the Plaintiffs' original
Complaint, which did not name or involve FCA US but did involve the same claims as those asserted in the First
Amended Complaint, contained a prayer for relief in excess of $12.000,000.

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   A. The Claimed Amount in Controversy Satisfies the Jurisdictional Minimum under
      28 U.S.C. § 1332(a).

       13.      In this case, Plaintiffs have stated that they are entitled to an award of

compensatory damages in excess of $10,000, plus an award of costs, accrued interest, and

attorney fees. See Second Amended Complaint (Exhibit A-24) at p. 3. Although the Second

Amended Complaint does not explicitly state a damages claim in excess of $75,000, in assessing

the amount in controversy, courts may consider allegations in the complaint and in the notice of

removal, as well as summary judgment-type evidence relevant to the amount in controversy.

Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 416 (9th Cir. 2018). See also Sanchez v.

Monumental Life Ins. Co., 102 F.3d 398, 403 (9th Cir. 1996).

       14.      As stated above, the Plaintiffs' original Complaint, which asserted the same

causes of action arising out of the same motor vehicle accident alleged in this case, sought

damages against the improperly named defendants in excess of $12,000,000. See Complaint

(Exhibit A-1) at p. 4. Plaintiffs' multi-million dollar original prayer for relief provides

convincing evidence that the amount in controversy in this case exceeds the sum of $75,000.

       15.      In addition, the Second Amended Complaint alleges that Bradley Bliton suffered

"severe, permanent injury to his head, neck, back and knee requiring extensive medical care"

and that Bradley Bilton has "suffered lost income, past and future, and lost income-earning

capacity." See Second Amended Complaint (Exhibit A-24) at p. 2. Given Mr. Bliton's young age

(32 years of age on the date of the accident), the claim for loss of future income alone strongly

suggests that the damages sought by the Plaintiffs in this case will exceed $75,000. See e.g.

Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 416 (9th Cir. 2018) (finding that although it

was unclear from the face of the complaint whether the amount in controversy exceeded

$75,000, the complaint contained claims for loss of earnings and loss of earning capacity which


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would easily exceed $75,000; thus, the subject matter jurisdiction requirements for removal were

satisfied).

        16.      Because the     allegations rn    the Second Amended Complaint indicate,

convincingly, that the damages at issue in this case exceed $75,000, the amount in controversy

satisfies the jurisdictional minimum under 28 U.S.C. § 1332(a).

    B. Complete Diversity of Citizenship Exists Between the Parties.

        17.      Diversity of citizenship is determined by the citizenship of all parties as of the

date of the filing of the complaint. See 28 U.S.C. §§ 1332 and 1441.

        18.      The parties to this case are the Plaintiffs and FCA US.

        19.      The Plaintiffs are and were at the time the state court action commenced, residents

of the State of Alaska. See Second Amended Complaint (Exhibit A-24) at p. 1. Accordingly,

Plaintiffs are citizens of Alaska for purposes of determining diversity jurisdiction under 28

U.S.C. § 1332.

        20.      Defendant FCA US is, and was at the time the state court action commenced, a

Delaware limited liability company with its principal place of business located in the State of

Michigan. See Delaware Secretary of State Entity Details attached hereto as Exhibit C. The sole

member of FCA US is FCA North America Holdings, LLC, a Delaware limited liability

company with its principal place of business located in the State of New York. The sole member

of FCA North America Holdings, LLC is Fiat Chrysler Automobiles N.V., a corporation

organized and existing under the laws of the Netherlands with its principal place of business

located in the United Kingdom. Accordingly, FCA US is not a citizen of Alaska for purposes of

determining diversity jurisdiction. See 28 U.S.C. § 1332(c)(l).




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       21.          With Plaintiffs being citizens of Alaska and FCA US a citizen of various states

not including Alaska, there is complete diversity of citizenship between the parties to this

lawsuit.

       22.          As set forth above, the Court has subject matter jurisdiction because this is a civil

action in which the amount in controversy (exclusive of costs and interest) exceeds the sum of

$75,000 and complete diversity of citizenship exists between the parties.

                         III. COMPLIANCE WITH REMOVAL STATUTES

   A. Proper Venue.

       23.          The United States District Court for the District of Idaho encompasses Kootenai

County, the county in which the subject accident occurred and the county in which the state court

action was filed. See 28 U.S.C. § 124. Therefore, this case is properly removed to this Court

under 28 U.S.C. § 1441(a).

    B. Timeliness of Removal.

           24.      FCA US received a copy of the Second Amended Complaint on May 9, 2018.

Because this Notice of Removal was filed within 30 days after FCA US' s receipt of the Second

Amended Complaint, this removal is timely under the provisions of 28 U.S.C. § 1446(b). No

previous application has been made for the relief requested herein.

    C. Notice.

           25.      Pursuant to 28 U.S.C. § 1446(d), prompt written notice of the filing of this Notice

of Removal is being given to Plaintiffs and a copy of this Notice of Removal is being filed with

the Clerk for the District Court of the First Judicial District of Kootenai County, Idaho.




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                               IV. NON-WAIVEROFDEFENSES

       26.      In removing this case to federal court, FCA US has not waived any available

defenses to the allegations asserted against it in the Second Complaint and, unless otherwise

stated in FCA US's Answer, FCA US has not admitted to any of the allegations set forth in the

Second Amended Complaint. FCA US expressly reserves the right to assert all available

defenses to each allegation in the Second Amended Complaint.

                              . V.   CONCLUSION AND PRAYER

       As set forth above, all of the prerequisites for removal have been satisfied, and removal is

proper pursuant to 28 U.S.C. §§ 1332, 1441 and 1446. Accordingly, FCA US respectfully

requests that this lawsuit be removed to the United States District Court for the District of Idaho.
                       'of
       DATED this_!_         day of June, 20 18.

                                                   ELAM & BURKE, P.A.



                                            By     J~         T J]a;M)
                                                   WihiaG. Dryden
                                                   Ja~jyn T. Gans
                                                   Attorneys for Defendant FCA US LLC




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the l"<it"         day of June, I electronically filed the foregoing
with the U.S. District Court, which sent notice of the same to the following individuals:

          Erik P. Smith                                esmith@lclattorneys.com
          Amanda Findlay
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          Attorneys for Plaintiffs




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